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                 DISTRICT COURT CASE NO. 2:17-CV-04157-RGK

                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                              JENNIFER MORGAN

                           Appellant and Cross-Appellee,

                                        v.

                        HEIDE KURTZ, PLAN TRUSTEE

                           Appellee and Cross-Appellant.



                On Appeal from the United States Bankruptcy Court
                       for the Central District of California
            The Honorable Barry Russell, United States Bankruptcy Judge


            OPENING BRIEF OF APPELLEE AND CROSS-APPELLANT


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                                 I.     INTRODUCTION

A.          Summary of Appeal
            This appeal arises from an adversary proceeding filed by Heide Kurtz, the

former chapter 11 trustee and presently the Plan Trustee (the "Trustee") for The

Woman's Club of Hollywood (the "Club"), which filed a voluntary chapter 11

bankruptcy petition in December 2012, bearing case number 2:12-bk-50767-BR

(the "Bankruptcy Case"). The Trustee sued several officers and directors of the

Club, including Jennifer Morgan, the Club's CEO, executive director, treasurer,

and board member, and her fellow board member Alda Shelton, the Club's officer

and attorney, for breach of fiduciary duty, among other claims. After a multi-day

trial, the bankruptcy court concluded that there was no board approval for several

secured loans that defendants Morgan and Shelton caused the Club to obtain,

primarily for their own benefit, during the short time they controlled the Club and

that left the Club unable to pay its debts. Not surprisingly, when the Club

defaulted, Shelton filed the Bankruptcy Case to halt the lender's foreclosure sale.

            While the bankruptcy court found Morgan liable for breach of her fiduciary

duties to the Club and entered a judgment against her, it erroneously focused its

calculation of damages on what Morgan received as a result of her breach, and not

on the damages her misconduct caused to the Club. As a result, it only awarded

$160,903.48 in damages against Morgan, for amounts that she received, instead of

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damages of at least $1,616,886.96, representing the amount that the Club will have

to pay to the lender for the loan that the Club should not have obtained. Morgan

appealed the adverse judgment entered against her and the Trustee filed a cross-

appeal regarding the calculation of damages. The Trustee also appealed the

bankruptcy court's decision regarding Shelton, because although the court found

that she had breached her fiduciary duty, it awarded no damages because it again

applied the incorrect law on damages. That appeal is pending before this Court as

case number 2:17-cv-04251-RGK.

B.          Summary of Background Facts
            The Club is a historic non-profit organization that was founded in 1905.

According to its member handbook, its mission "is to raise awareness of the Arts,

helping and serving the community and fundraising for charities." The Club owns

real property located at 1741, 1749 and 1751 N. La Brea Ave., Los Angeles,

California 90046 (the "Property"). The Property is located in the heart of

Hollywood, approximately two blocks from Grauman's Chinese Theatre. The

Property, valued between $6.5 million and $8.5 million, is extremely valuable and

was unencumbered for decades by any liens. Then, starting in late 2010, Morgan

and Shelton wrested control of the Club and its valuable Property from the Club's

aging and declining members for the purpose of enriching themselves at the

expense of the Club and its legitimate members. In less than 18 months, Morgan



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and Shelton encumbered the Property with a number of unauthorized liens,

including a $100,000 lien in favor of Morgan and culminating in a lien that secured

a hard money loan of $700,000, the proceeds of which were used to benefit various

officers and members of the Club's board, including Morgan and Shelton.

            Morgan, the Club's executive director, chief executive officer ("CEO"),

treasurer, and board member, with the help of Shelton, the Club's attorney, officer,

and board member, obtained and retained control of the Club and its valuable

Property. Morgan hired Shelton, the Club's attorney, as well as an officer and

director, to defend her against actions by the Club's members to oust Morgan.

Morgan caused the Club to file three voluntary bankruptcy cases within the span of

two years to avoid a receiver, and later, to stay the foreclosure sale by the hard

money lender. Morgan took numerous other actions to further her own self-

interest to the detriment of the Club and the Property. In mid-2011, when it

appeared that Morgan and Shelton may lose control of the Club to a receiver, they

burdened the Club with several unauthorized liens, including a lien in favor of

Morgan for $100,000, which the Club's board never authorized. Then, a few

weeks after giving herself a lien, Morgan obtained a $700,000 hard money loan

from Scapa & Associates (the "Scapa Loan"), which the Club's board never

authorized. Both Morgan and Shelton knew that the Club did not have any ability

to repay the Scapa Loan. In fact, all of the payments made to service the Scapa



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 Loan were made with proceeds of the Scapa Loan. Regardless of the lack of board

 approval, Shelton created a fraudulent resolution that she presented to Scapa

 stating that the board had approved the Scapa Loan and Morgan signed the loan

 documents as the Club's CEO. Morgan and Shelton then used most of the Scapa

 Loan proceeds to pay themselves and their friends.

             When the proceeds of the Scapa Loan were exhausted and the Scapa Loan

 could not be serviced, the Club defaulted and Scapa commenced a foreclosure

 action. On the eve of Scapa's foreclosure sale in December 2012, Morgan, as the

 Club's CEO and Shelton, as the Club's attorney, filed this Bankruptcy Case to stay

 the foreclosure sale. Under the confirmed chapter 11 plan, the Club must repay

 Scapa more than $1.6 million in order to retain the Property.

             As the executive director, CEO and board member of the Club, Morgan was

 a fiduciary of the Club. Morgan, together with Shelton, breached her fiduciary

 duty to the Club by giving herself a $100,000 lien against the Property that was

 never authorized by the Club's board, and obtaining the Scapa Loan, which mired

 the Club in debt that it would be unable to pay. Morgan also obligated the Club on

 other secured loans that the Club's board never authorized for her own benefit.

 These loans provided funds directly to Morgan as well as funded legal fees to keep

 Morgan in control of the Club and its Property. These loans were instrumental in

 Morgan's and Shelton's scheme to wrest control of the Club away from its



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 legitimate members and to gain control of the Property for their benefit.

             Although the bankruptcy court correctly found that Morgan had breached

 her fiduciary duty, it erred in how it calculated damages by focusing on what

 Morgan received and not on the damages to the Club proximately caused by

 Morgan's misconduct and breach. It also erred in striking the testimony of the

 Trustee's accountant, Don Fife, which would have assisted the bankruptcy court in

 its damage calculation. The bankruptcy court's judgment should be reversed and

 remanded with instructions to enter a judgment in the amount of $1,616,886.96 for

 the damage Morgan caused to the Club.



                         II.   JURISDICTIONAL STATEMENT

             The bankruptcy court entered its judgment against Morgan on May 23, 2017.

 A copy of the judgment is attached to the Appellee's Excerpts of Record

 ("Appellee's ER") at Tab 1. Morgan timely filed a notice of appeal, electing to

 have it heard by the United States District Court. (Appellant's App., Exhs. 17-18).

 Pursuant to Federal Rule of Bankruptcy Procedure 8002(a)(3), the Trustee timely

 filed her own notice of appeal of the judgment against Morgan. A copy of the

 Trustee's notice of appeal is attached to the Appellee's ER at Tab 2. Pursuant to

 28 U.S.C. § 158(a)(1) and Federal Rule of Bankruptcy Procedure 8005, this Court

 has proper jurisdiction of this appeal.



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             On appeal, Morgan argues that the Trustee did not have standing to bring the

 action against her and therefore the bankruptcy court erred in awarding a judgment

 in favor of the Trustee. This argument is nonsense and was correctly rejected by

 the bankruptcy court. The Trustee was appointed as the chapter 11 trustee and,

 once her chapter 11 plan (the "Plan") was confirmed, became the plan trustee. See

 Order Confirming Chapter 11 Trustee's Chapter 11 Plan of Reorganization (Dated

 April 8, 2014) [As Amended by Docket No. 442 Filed on July 2, 2014], as Modified

 by this Court Order at 74, attached to the Appellee's ER as Tab 3. The confirmed

 Plan and the order approving it appointed the Trustee as the "plan trustee" and

 Section III.F.4. of the Plan specifically vested the Trustee with standing to continue

 the litigation against Morgan and Shelton. See Trustee's Chapter 11 Plan of

 Reorganization (Dated April 8, 2014), Appellee's ER, Tab 4 at 107. Section

 III.F.8. of the Plan also explicitly provided that the plan trustee would serve as the

 successor to the chapter 11 trustee for all purposes. See Plan at 109. Accordingly,

 there is no question that the Trustee has at all times had standing to prosecute this

 litigation and this appeal.



                       III.   STATEMENT OF ISSUES ON APPEAL

             1.    Did the bankruptcy court err in finding that Morgan breached her

 fiduciary duty to the Club?



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             2.    When calculating damages for Morgan's breach of fiduciary duty, did

 the bankruptcy court err by focusing on what Morgan received instead of the

 damages proximately caused to the Club by her misconduct?

             3.    Did the bankruptcy court err in striking the declaration of the Trustee's

 expert witness, Don T. Fife, CPA, and excluding his testimony at trial?

             4.    Did the bankruptcy court err in using the federal rate of interest, rather

 than applying California law in calculating prejudgment interest?



                              IV.    STANDARD OF REVIEW

             A bankruptcy court’s conclusions of law are reviewed de novo. See Feder v.

 Lazar (In re Lazar), 83 F.3d 306, 308 (9th Cir. 1996). A lower court's findings of

 fact after a bench trial are reviewed for clear error. See Ambassador Hotel Co.,

 Ltd. v. Wei-Chuan Investment, 189 F.3d 1017, 1024 (9th Cir. 1999)(citations

 omitted). Clear error occurs when "'although there is evidence to support it, the

 reviewing court on the entire evidence is left with the definite and firm conviction

 that a mistake has been committed.'" Andersen v. City of Bessamer City, N.C., 470

 U.S. 564, 573 (1985)(quoting United States v. United States Gypsum Co., 333 U.S.

 364, 395 (1948)). Whether the bankruptcy court applied the correct legal standard

 in calculating damages is a question of law that is reviewed de novo. See Galindo

 v. Stoody Co., 793 F.2d 1502, 1516 (9th Cir. 1986)(citation omitted). Whether state



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 or federal law applies to determine amount and availability of prejudgment interest

 is purely a legal question that is reviewed de novo. See In re Keefe, 401 B.R. 520,

 526 (1st Cir. B.A.P. 2009); Oak Harbor Freight Lines, Inc. v. Sears Roebuck, &

 Co., 513 F. 3d 949, 954 (2008).

             A trial court's evidentiary rulings are reviewed for an abuse of discretion.

 See General Elec. Co. v. Joiner, 522 U.S. 136, 141-42 (1997). A bankruptcy court

 abuses its discretion where it bases its decision on an erroneous view of the law of

 clearly erroneous factual findings. See Cooter & Gell v. Hartmarx Corp., 496 U.S.

 384, 405 (1990).



                     V.     STATEMENT OF BACKGROUND FACTS

 A.          The Club's Background
             The Club is a California non-profit social welfare organization founded in

 1905. (First Amended Complaint, Appellant's App., Exh. 1, at 16; February 27,

 2012 341(a) Transcript at 364:21-22, Trial Exh. 196, Appellee's ER, Tab 5 at

 227:17-22; Decl. of Jennifer Morgan dated 01/08/13 ("Morgan Decl."), Trial Exh.

 171, Appellee's ER, Tab 6 at 275:22-24). The Club had a storied history that

 included a school for girls and membership events that included the likes of

 Charlie Chaplin. The Club's meetings, social functions, fundraisers, and charitable

 events were held at the Property. (March 10, 2011 341(a) Transcript, Trial Exh.

 195, Appellee's ER, Tab 7 at 326:17-20; 2011 Amended Bylaws, Trial Exh. 19,

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 Appellee's ER at Tab 8, p. 364; Restated Articles of Incorporation, Trial Exh. D5,

 Appellee's ER at Tab 9, p. 374).

             The Club owned the Property free and clear of liens for many decades. (FY

 2008-09 Tax Return, Trial Exh. 269, Appellee's ER at Tab 10; FY 2009-10 Tax

 Return, Trial Exh. 270, Appellee's ER at Tab 11). Over the years, the Property,

 which is located two blocks from Grauman's Chinese Theatre in the heart of

 Hollywood, became extremely valuable. (Morgan Decl., Trial Exh. 171,

 Appellee's ER, Tab 6, at 275:16-23; Vicinity Map from Expert Cole's Report, Trial

 Exh. 112, Appellee's ER, Tab 12, at 428). When the Bankruptcy Case was filed,

 Morgan and Shelton valued the Property to be worth $6 million. (Schedule "A"

 filed under penalty of perjury in the Bankruptcy Case on December 13, 2012, Trial

 Exh. 225, Appellee's ER, Tab 13).

 B.          Defendant Morgan's Takeover of Control

             By the early 2000s, the Club's members were aging, membership had

 declined, and the Club, with its valuable unencumbered Property, was vulnerable.

 (Trial Decl. of Jennifer Morgan, Appellee's ER, Tab 14, pp. 637-38, ¶ 26). In or

 around 2009, Nina Van Tassell, a member of the Club, introduced Morgan to the

 Club. (Id. at p. 637, ¶ 23.) Morgan touted her experience with working with non-

 profit organizations, and by 2010, she had ingratiated herself with the Club's aging

 members and become the Club's executive director. (Id. at pp. 637-38, ¶¶ 23, 26).



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 In late 2010, through a series of allegedly improperly noticed meetings and

 elections and by manipulating membership dues, Morgan took over control of the

 Club with a newly elected board and new bylaws. (Complaint filed in the Quick

 Action, Trial Exh. 198, Appellee's ER, Tab 15, p. 730, ¶ 14; Trial Decl. of Lorraine

 Genovese, Appellee's ER, Tab 16, pp. 748-49, ¶¶9, 11). Van Tassell, Morgan's

 friend, became president of the Club and Morgan was placed in control of the

 Club's daily operations. (Genovese's Trial Decl., Appellee's ER, Tab 16, p. 749, ¶¶

 13, 15).

             1.    Gaining Control

             In January 2011, members who were not a part of Morgan's takeover plan

 became concerned with the actions being taken by Morgan and Van Tassell. These

 members (the "Quick Plaintiffs") filed an action (the "Quick Action") in the Los

 Angeles Superior Court, and sought a preliminary injunction and the appointment

 of a receiver. Morgan, Van Tassell and the Club were named defendants in the

 lawsuit. (Complaint filed in the Quick Action, Trial Exh. 198, Appellee's ER, Tab

 15; Mot. for Prelim. Inj. filed in the Quick Action, Trial Exh. 199, Appellee's ER,

 Tab 17). On January 11, 2011, the Superior Court issued a restraining order (the

 "First TRO") prohibiting any changes to the Club's bylaws, the sale or alienation of

 the Club's assets, or making any changes to the corporate status of governance of

 the Club until a court-appointed receiver could oversee an election pursuant to the



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 2005 bylaws. (Trial Exh. 200, Appellee's ER, Tab 18).

             Unfortunately, the restraining order came a few days too late. While the

 motion for preliminary injunction was pending but before the Superior Court

 issued its order, Morgan held a meeting on January 8, 2011, that led to the election

 of a new board and the adoption of new bylaws. (2011 Amended Bylaws, Trial

 Exh. 19, Appellee's ER, Tab 8; Jan. 8, 2011 Meeting Minutes, Trial Exh. 7,

 Appellee's ER, Tab 19). Morgan was a member of this board and was designated

 the chief executive officer and treasurer. (Jan. 8, 2011 Meeting Minutes, Trial

 Exh. 7, at Appellee's ER, Tab 19).

             2.    The First Deed of Trust Against the Property and the Club's First
                   Bankruptcy Case

             A few days after the Superior Court issued the First TRO, Morgan began

 encumbering the Property for her own benefit. On January 18, 2011, a deed of

 trust executed by Van Tassell and another board member, Michael Wallace, was

 made in favor of Van Tassell's husband, Carl Von Randallhoff, to secure a loan in

 the amount of $25,000 (the "First Von Randallhoff Deed of Trust"). (Appellee's

 ER, Tab 20.)1 Morgan caused the Club to borrow $25,000 from Von Randallhoff

 to pay fees to a bankruptcy attorney to stay both the Quick Action and the efforts

 to dispossess Morgan. (Corporate Resolution Authorizing the Borrowing of

     1
      The First Von Randallhoff Deed of Trust was admitted at trial as Exh. 70. However, due to
 the document's illegibility, a certified copy, which was also available at trial, is being submitted
 as part of the Trustee's Excerpts of Record.

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 Funds, Trial Exh. 79, Appellee's ER, Tab 21). Two days after Von Randallhoff

 received his lien, Morgan caused the Club to file a voluntary petition under

 Chapter 11 of the Bankruptcy Code, which was assigned case number 2:11-bk-

 12572-BR. (Trial Exh. 206, Appellee's ER, Tab 22). According to the Club's

 bankruptcy schedules, the Club's debts at that time only totaled $125,000. (Trial

 Exh. 207, Appellee's ER, Tab 23, p. 931). The First Von Randallhoff Deed of

 Trust was the only lien that encumbered the Property. (Id. at p. 937). The Quick

 Plaintiffs filed a motion to dismiss the bankruptcy case and the bankruptcy court

 granted that motion. (Docket Report for first bankruptcy, Trial Exh. 210,

 Appellee's ER, Tab 24, p. 966-68).

             3.    The Second Deed of Trust Against the Property

             On April 12, 2011, one day before the Club's first bankruptcy case was

 officially dismissed, Morgan caused the Club to grant a second deed of trust (the

 "Second Von Randallhoff Deed of Trust") in favor of Von Randallhoff in the

 amount of $25,000. (Appellee's ER, Tab 25).2 The Second Von Randallhoff Deed

 of Trust was recorded on April 18, 2011. (Id. at p. 973.) Both the First Von

 Randallhoff Deed of Trust and the Second Von Randallhoff Deed of Trust were

 granted after the issuance of the First TRO, pursuant to which the Superior Court



     2
       The Second Von Randallhoff Deed of Trust was admitted at trial as Exh. 81. However, due
 to the document's illegibility, a certified copy, which was also available at trial, is being
 submitted as part of the Trustee's excerpts of record.

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 prohibited any alienation of the Club's assets.

             4.    The Second TRO and Third TRO

             On April 26, 2011, after the First Bankruptcy Case was dismissed, the

 Superior Court entered a second order (the "Second TRO") preventing Morgan,

 Van Tassell, and the Club from making any changes to the Club's 2005 bylaws,

 selling or alienating the Club's assets, or "making any changes to the corporate

 status, structure, and/or governance of the [Club]," until after an election overseen

 by the court-appointed receiver in conformance with the 2005 by-laws. (Trial Exh.

 201(a), Appellee's ER, Tab 26). Pursuant to the Second TRO, the Superior Court

 appointed Evelyn Carlson as the receiver. (Id.) On the same date, the Superior

 Court also entered an order (the "Third TRO") prohibiting Morgan and Van Tassell

 from "selling, leasing, and/or otherwise alienating any and all property of the

 [Club]." (Trial Exh. 201, Appellee's ER, Tab 27).

             By early May 2011, Morgan had retained Shelton to represent her, Van

 Tassell, and the Club as their attorney in the Quick Action. (Trial Decl. of Alda

 Shelton, Appellee's ER, Tab 28, p. 986, ¶ 6.) At the same time, Shelton also

 became an officer and director of the Club. (Id. at pp. 987-988, ¶ 9.)

             5.    The Third and Fourth Deeds of Trust

             Notwithstanding the three TROs issued in January and April 2011, Morgan,

 Shelton, and Van Tassell caused the Club to issue a third deed of trust



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 encumbering the Property. This deed of trust was executed by Van Tassell in favor

 of Morgan in the amount of $100,000 (the "Morgan Deed of Trust"). (Trial Exh.

 137, Appellee's ER, Tab 29). The Morgan Deed of Trust was recorded on June 15,

 2011. (Id. at p. 1236). Morgan and Shelton have alleged that the Morgan Deed of

 Trust secured a $100,000 note in her favor related to an alleged past due salary

 obligation of $8,000 per month. (Trial Decl. of Alda J. Shelton at ¶¶ 43-48,

 Appellee's ER, Tab 28, pp. 1000-02). However, the Club did not owe Morgan any

 back salary. The board did not agree to pay her requested salary because the Club

 could not afford it. (Tr. of Proceedings (Day 5, Shelton testimony) at 1376:14-15,

 Appellee's ER at Tab 30; Trial Decl. of Lorraine Genovese at 750:5-6, Appellee's

 ER at Tab 16). Board members claimed that they had no knowledge of any

 employment contract with Morgan or salary to be paid to her, and believed Morgan

 had been working for free. (Trial Decl. of Beverly Stevens at p. 1522, ¶ 16,

 Appellee's ER, Tab 31; Not. of Depo. Test. of Sherita Herring Taken June 29, 2016

 at 1538:12-24, Appellee's ER, Tab 32; Trial Decl. of Lorraine Genovese at 750:14-

 15, Appellee's ER, Tab 16; Tr. of Proceedings (Feb. 15, 2017) at 1822, Appellee's

 ER, Tab 33; Trial Decl. of Ian Duncan at 1844:17-18, Appellee's ER, Tab 34). In

 addition, board members testified that they were not aware of and did not authorize

 the granting of a lien in favor of Morgan. (Trial Decl. of Ian Duncan at 1844:24-

 25, Appellee's ER, Tab 34; Trial Decl. of Lorraine Genovese at 750:16-18,



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 Appellee's ER, Tab 16; Trial Decl. of Beverly Stevens at 1522:23-25, Appellee's

 ER, Tab 31).

             On the same day that Morgan received her note and deed of trust, Morgan,

 Van Tassell and Shelton caused the Club to borrow another $150,000 from Van

 Randallhoff (the "Third Von Randallhoff Loan"), to be secured by a deed of trust

 against the Property (the "Third Von Randallhoff Deed of Trust"). (Trial Exh. 306,

 Appellee's ER, Tab 35). The Third Von Randallhoff Deed of Trust was recorded

 on June 13, 2011. (Id. at p. 1879). The First Von Randallhoff Deed of Trust and

 the Second Von Randallhoff Deed of Trust were removed from the Property.

 Unlike the notes secured by those first two deeds, which carried a 6% interest rate,

 a two-year maturity and no prepayment penalty, the new note carried a 10%

 interest rate and guaranteed six months of interest payments in the amount of

 $7,500. (Trial Exh. 91, Appellee's ER, Tab 36). There was no board approval for

 this loan and there are no board meetings that reflect approval of it.

             Morgan and Shelton used the proceeds of this third loan from Von

 Randallhoff for their own benefit. From escrow, Morgan caused $25,000 to be

 sent to an attorney, Jae Kim, who later transferred the funds to Morgan through

 three separate checks. (Trial Exh. 105, Appellee's ER, Tab 37 at 1890; Trial Exh.

 106, Appellee's ER, Tab 38; Not. of Depo. Test. of Jae Kim Taken May 16, 2014,

 Appellee's ER, Tab 39 at 1899:2-8, 1901, 1905, 1906:13-1907:5, and 1908). Mr.



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 Kim has testified under oath that he had no written engagement agreement with

 Morgan and did not provide any legal services for her. (Not. of Depo. Test. of Jae

 Kim Taken May 16, 2014, Appellee's ER, Tab 39 at 1900 and 1902). Another

 $40,000 of the proceeds from the third loan from Von Randallhoff were used for

 Morgan and Van Tassell's defense of the Quick Action, and Shelton received

 $20,000 of the proceeds. (Trial Exh. 105, Appellee's ER, Tab 37 at 1888-89; Trial

 Exh. 106, Appellee's ER, Tab 38).

             6.    The Scapa Loan

             In August 2011, with the imminent appointment of a receiver that would

 divest Morgan and Shelton of control of the Club and the valuable Property,

 Morgan and Shelton caused the Club to obtain a $700,000 hard money loan from

 Scapa & Associates ("Scapa"). (Trial Exh. 28, Appellee's ER, Tab 40). In order to

 obtain the loan, Morgan signed the loan documents as the Club's CEO (Loan

 Escrow Instructions, Trial Exh. 10; Amendment to Escrow Instructions, Trial Exh.

 11; Borrower Information Sheet, Trial Exh. 12; Seller/Owner's Affidavit and

 Indemnity, Trial Exh. 13; Beneficiary Morgan's Demand Letter, Trial Exh. 14;

 Beneficiary Von Randalhoff's Demand Letter, Trial Exh. 16; Borrower's

 Certification & Authorization, Trial Exh. 20; Occupancy and Financial Status

 Affidavit, Trial Exh. 21; Mortgage Loan Disclosure Statement, Trial Exh. 23;

 Payoff Schedule, Trial Exh. 24; Disbursement Instructions, Trial Exh. 25;



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 Promissory Note, Trial Exh. 26; Lender/Borrower Agreement, Trial Exh. 27; Deed

 of Trust, Trial Exh. 28; Assignment of Rents, Trial Exh. 29; Prepayment Rider,

 Trial Exh. 30; attached collectively as Appellee's ER, Tab 41) and Shelton

 presented Scapa with a false corporate resolution signed by her as secretary which

 stated that the Club had authorized the borrowing, when, in fact, the Club's board

 had not. (Resolution to Borrow Capital, Trial Exh. 18, Appellee's ER, Tab 42;

 Notice of Depo. Test. of Jennifer Morgan Taken June 30, 2016, and July 1, 2016,

 Appellee's ER, Tab 43, p. 2024 (Abstained); Notice of Depo. Test. of Alda J.

 Shelton Taken June 29, 2016, Appellee's ER, Tab 44, pp. 2117, 2166 (Abstained);

 Resp. of Michael Wallace to Trustee's Req. for Admissions Set No. 1, Trial Exh.

 154, Appellee's ER, Tab 45, pp. 2199 (denied voting in favor of "alleged"

 resolution), 2200 (denied voting in favor of "alleged" resolution), and 2201 (does

 not recall how he voted on the "actual" resolution); Trial Decl. of Michael Wallace,

 Docket No. 401, Appellee's ER, Tab 46, p. 2220 (makes no mention of vote); Tr.

 of Proceedings (Feb. 16, 2017), Appellee's ER, Tab 47, p. 2423:11-17 (Wallace did

 not include any statements to support a finding on how voted); Notice of Depo.

 Testimony of Sherita Herring, Docket No. 377, Appellee's ER, Tab 32, pp. 1559,

 1562-63 (denies knowledge or voting on it), and 1535 (no discussions to borrow

 money or regarding Scapa Loan); Tr. of Proceedings (Feb. 16, 2017), Appellee's

 ER, Tab 47, pp. 2371:19-21 (Herring denies voting on Scapa Loan), 2372:9-11



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 (denies witnessing vote), 2381:5-12 (became inactive on the Board starting in

 April 2011); Trial Decl. of Ian Duncan, Docket No. 356, Appellee's ER, Tab 34, p.

 1845 (denies voting to approve and had no knowledge Board considered loan)). In

 fact, not only did the members of the board not approve the Scapa Loan, many did

 not even know about it. (Not. of Depo. Testimony of Sherita Herring Taken on

 June 29, 2016, Docket No. 377, Appellee's ER, Tab 32, 1559, 1562-63 (denies

 knowledge or voting on it), and 1535 (no discussions to borrow money or

 regarding Scapa Loan); Trial Decl. of Ian Duncan, Docket No. 356, Appellee's ER,

 Tab 34, p. 1845 (no knowledge Board considered loan); Trial Decl. of Lorraine

 Genovese, Docket No. 357, Appellee's ER, Tab 16, p. 754:11-12 (denies knowing

 Morgan was paid from the Scapa Proceeds), p. 755:25-27 (had resigned and had no

 knowledge of Scapa Loan)). The Scapa Loan contained a 12% interest rate and a

 maturity date of five years. (Promissory Note Secured by Scapa Deed of Trust,

 Trial Exh. 26, Appellee's ER, Tab 48) The Scapa Loan was secured by a deed of

 trust against the Property. (Trial Exh. 28, Appellee's ER, Tab 40.) From escrow,

 over 54% of the loan proceeds (or $377,712.33) was immediately disbursed to

 Morgan, Shelton, and Van Tassell's spouse, Von Randallhoff, as follows: (1)

 $157,500.00 was paid to Von Randallhoff, Van Tassell's husband; (2) $120,212.33

 was paid to Morgan; and (3) $100,000.00 was paid to Shelton. (File Ledger

 showing disbursements, Trial Exh. 32, Appellee's ER, Tab 49; Scapa Loan Final



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 Settlement Statement, Trial Exh. 31, Appellee's ER, Tab 50). The payment to Von

 Randallhoff, Van Tassell's spouse, included a pre-payment penalty of $7,500.00

 because the obligation was not yet due. (Beneficiary Demand Letter, Trial Exh.

 15, Appellee's ER, Tab 51). In addition, the Scapa Loan proceeds paid $45,379 in

 loan fees and costs. (File Ledger showing disbursements, Trial Exh. 32, Appellee's

 ER, Tab 49; Scapa Loan Final Settlement Statement, Trial Exh. 31, Appellee's ER,

 Tab 50). Escrow also paid property taxes of $13,387.98. (Id.)

             After the Scapa Loan closed, the monthly interest payments due on the

 Scapa Loan were paid for by the Scapa Loan proceeds and, over time, a total of

 $49,700 was paid to Scapa, which represented seven monthly interest payments.

 (Tr. of Proceedings (Mar. 8, 2017), Appellee's ER, Tab 52, p. 2766:20-22 and p.

 2767:17-21).

             Between the amounts paid to insiders (Morgan, Shelton and Van Tassell's

 spouse) and the amounts paid to obtain and service the high-interest, high-cost

 Scapa Loan, including $45,379 in closing costs and loan fees, and $49,700 used to

 pay Scapa seven monthly interest payments, the Club received, at most,

 $200,428.30, exclusive of the property taxes paid, or $213,816.30, inclusive of the

 property taxes paid. (File Ledger showing disbursements, Trial Exh. 32,

 Appellee's ER, Tab 49; Scapa Loan Final Settlement Statement, Trial Exh. 31,

 Appellee's ER, Tab 50; Tr. of Proceedings (Mar. 8, 2017), Appellee's ER, Tab 52,



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 p. 2767:17-24). In sum, the Club received only approximately 30% of the Scapa

 Loan proceeds.

             Morgan knew or should have known that the Club could not afford the

 Scapa Loan. (Disclosure Statement, Trial Exh. 209, Appellee's ER, Tab 53 at

 2900:9-12; Tr. of Proceedings (Feb. 17, 2017), Appellee's ER, Tab 76 at 4085:3-

 10). The Club had minimal revenues and had operated at a loss from 2009 on. (FY

 2008-09 Tax Return, Trial Exh. 269, Appellee's ER, Tab 10; FY 2009-10 Tax

 Return, Trial Exh. 270, Appellee's ER, Tab 11; FY 2010-11 Tax Return, Trial Exh.

 318, Appellee's ER, Tab 54; Club's Income Statements for the months of March

 and April 2012, Trial Exh. 176, Appellee's ER, Tab 55, pp. 2965-2968; Statement

 of Financial Affairs, Trial Exh. 219, Appellee's ER, Tab 56). The Club's tax

 returns for 2009 and 2010 reflect that the Club operated at a loss in both of those

 years. According to the Club's profit and loss statement, the operating losses

 continued in 2010, and the Club's balance sheet reflected cash of only $619.25.

 (Trial Exh. 209, Appellee's ER, Tab 53, p. 2938).

             The Club's financial situation did not improve in 2011. Rather, the operating

 losses continued. The Club's profit and loss statement for the first two months of

 2011 reflected a loss of almost $30,000. (Id. at p. 2937). The Club's bankruptcy

 schedules, filed in February 2011, reflected that the Club was not paying its debts

 as they became due. The Club owed property taxes of $8,065.99 and



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 approximately $43,551 to seven general unsecured creditors. (Trial Exh. 207,

 Appellee's ER, Tab 23). The Club's disclosure statement, filed March 28, 2011

 and signed by Morgan as treasurer, admitted the Club's gross monthly rental

 revenues were only $9,000 per month. (Trial Exh. 209, Appellee's ER, Tab 53, p.

 2900). In comparison, the Scapa monthly debt service alone was $7,000. Thus,

 even before Morgan and Shelton caused the Club to obtain a $700,000 loan with

 interest at 12%, the Club was not operating profitably and consistently operated at

 a loss in 2009, 2010, and 2011.

             7.    The Club's Second Voluntary Bankruptcy Case

             In early 2012, the Club was faced with the appointment of another receiver.

 (Trial Decl. of Dennis W. Rook, Appellee's ER, Tab 57, p. 2981, ¶ 1.) Again, to

 maintain control of the Club and its valuable Property, Morgan, as the Club's

 executive director, and Shelton, as the Club's attorney, filed a voluntary chapter 11

 bankruptcy petition. (Trial Exh. 217, Appellee's ER, Tab 58). On April 20, 2012,

 upon motion filed by the Quick Plaintiffs, the bankruptcy court dismissed the

 Club's second bankruptcy case with a prohibition against refiling another

 bankruptcy case for 175 days. (Docket Report for second voluntary bankruptcy,

 Trial Exh. 223, Appellee's ER, Tab 59, p. 3012).

             8.    The Club's Third Voluntary Bankruptcy Case

             After Morgan and Shelton exhausted the proceeds of the Scapa Loan and



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 caused the Club to stop making monthly interest payments to Scapa, which was not

 surprising considering the Club's dismal finances at and after the Scapa Loan was

 incurred, Scapa scheduled a foreclosure sale. (Tr. of 341(a) Meeting of Creditors

 (Jan. 28, 2013), Trial Exh. 197, Appellee's ER, Tab 60, p. 3022:5-6). In order to

 stay the sale, on December 13, 2012, Morgan, as CEO, and again with Shelton as

 counsel, caused the Club to file its third voluntary bankruptcy case – the instant

 Bankruptcy Case. (Id. ("The bankruptcy was filed because there was a pending

 foreclosure on December 14th”); Dec. 2012 Petition and Statement of Financial

 Affairs, Trial Exh. 225, Appellee's ER, Tab 13; Amended Petition, Trial Exh. 227,

 Appellee's ER, Tab 61; Tr. of 341(a) Meeting of Creditors (Jan. 28, 2013), Trial

 Exh. 197, Appellee's ER, Tab 60, p. 3021:5-11). Because the bankruptcy court

 was concerned about the Club's management with Morgan and Shelton at its helm,

 it authorized the appointment of a chapter 11 trustee and the Trustee was

 subsequently appointed. (Order Appointing Trustee, Appellee's ER, Tab 62; Tr. of

 Proceedings (Jan. 16, 2013) at 1822, Appellee's ER, Tab 75 p. 3896-3898).



                         VI.    THE ADVERSARY PROCEEDING

             After the Trustee investigated the events that occurred, the Trustee filed a

 complaint against various officers and board members of the Club. (Appellee's

 ER, Tab 63.) The complaint was later amended. (First Amended Complaint,



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 Appellant's App. Exh. 1).



                 VII. EXPERT TESTIMONY REGARDING DAMAGES

             In order to assist the Trustee with proving the amount of damages caused by

 Morgan's and Shelton's breach of fiduciary duty, the Trustee retained Donald Fife,

 a certified public accountant, as her expert. Mr. Fife prepared his expert report and

 the Trustee timely disclosed the report to the defendants. In order to comply with

 the Federal Rules of Civil Procedure, Mr. Fife's report either attached documents

 or specifically identified documents on which he relied. (Em. Mot. for

 Reconsideration, Appellee's ER, Tab 65; Omnibus Opp. to Mot. in Limine to

 Exclude the Testimony of Expert Don Fife (the "Omnibus Fife Opposition") and

 the Declaration of Autumn D. Spaeth in support thereof, Appellee's ER, Tab 66).

 Mr. Fife's report identified seventeen specific documents and one category of

 documents consisting of the Club's bank statements for five different accounts as

 documents on which he relied in formulating his opinion. (Id.) Although not all of

 the documents were physically attached to the report, the majority of them were.

 For instance, the report attached (1) the relevant portions of the Club's Form 990s

 for the six years in question, (2) relevant portions of the Club's schedules, (3) the

 final settlement statement for the Scapa Loan, (4) the EL Electric invoice, and (5)

 excerpts from the bank statements. (Id.) Thus, of the seventeen documents and



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 one category listed, ten of the documents were attached in whole or in part and the

 remainder were either pleadings served on the Defendants (i.e., the fee

 applications) or documents that the Trustee obtained from Ms. Shelton and the

 other Defendants during discovery. (Reply to Opp. to Emergency Mot. for

 Reconsideration, Appellee's ER, Tab 67, at 3443-45; Omnibus Fife Opposition,

 Appellee's ER, Tab 66, p. 3438-39). At the final pre-trial conference in November

 2016, Shelton asked the bankruptcy court for permission to take Mr. Fife's

 deposition after the discovery cutoff date of June 30, 2016, and the bankruptcy

 court authorized her to do so. Mr. Fife's deposition was thereafter taken. At that

 hearing, no party requested the bankruptcy court's authorization to seek additional

 documents from the Trustee or Mr. Fife. (Reply to Opp. to Emergency Mot. for

 Reconsideration, Appellee's ER, Tab 67).

             Prior to trial, Michael Wallace, who was represented by Shelton as his

 counsel, filed a motion in limine to exclude Mr. Fife's testimony, alleging that the

 report did not comply with Federal Rule of Civil Procedure 26(a)(2)(B) because

 although the report identified all of the exhibits on which Mr. Fife used to

 summarize or support his opinions, it did not physically attach all of them. Mr.

 Wallace also contended that Mr. Fife's trial declaration contained a number of new

 opinions that had not been contained in his expert report. (Mot. in Limine of

 Michael Wallace to Exclude the Testimony of Expert Don Fife, Appellee's ER,



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 Tab 68). Shelton, as one of the co-defendants, joined in the motion that she

 prepared as Mr. Wallace's counsel. (Defendant Alda Shelton's Not. of Joinder with

 Mot. in Limine of Michael Wallace, Appellee's ER, Tab 69). Morgan was not a

 party to the motion in limine. (Relevant portions of Docket Report of Case No.

 2:13-ap-01854-BR, Appellee's ER, Tab 70). The Trustee opposed the motion,

 arguing that the Trustee had complied with the rule by disclosing all of the exhibits

 and attaching the majority of them and that, in any event, the Defendants had

 suffered no prejudice because to the extent the documents were not attached, they

 had them in their possession and, in some instances, had even been the ones to

 produce them to the Trustee. (Omnibus Fife Opposition, Appellee's ER, Tab 66).

 The Trustee also denied that there were new opinions in Mr. Fife's declaration and

 argued that the declaration was not required to be identical to the report and that it

 was permissible to include supplemental information. (Id.) In their reply, Mr.

 Wallace and Shelton raised evidentiary objections to the declaration of Ms. Spaeth

 that was attached to the opposition. (Objections to Decl. of Autumn Spaeth

 attached to the Reply of Michael Wallace to Kurtz's Omnibus Opp. to Mot. to

 Exclude the Testimony of Heide Kurtz's Expert Don Fife, Appellee's ER, Tab 71).

 At the first day of trial, the bankruptcy court agreed with the defendants, sustained

 the evidentiary objections to Ms. Spaeth's declaration, and granted the motion. (Tr.

 of Proceedings (Feb. 15, 2017), Appellee's ER, Tab 33, p. 1599:17-21).



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             Surprised by the bankruptcy court's ruling, the Trustee filed an emergency

 motion for reconsideration of the ruling, arguing that the Court's ruling was

 inconsistent with the facts and the law and explaining more thoroughly how the

 paragraphs of Mr. Fife's declaration that the Defendants argued contained new

 opinion were in fact either not new opinions and were offered as rebuttal

 testimony. (Emergency Mot. for Reconsideration of Oral Ruling, Appellee's ER,

 Tab 65). The defendants opposed the motion. When the bankruptcy court

 eventually held a hearing on the motion for reconsideration after closing trial

 testimony, it denied the request for reconsideration, finding that it was an improper

 motion for reconsideration because it relied upon portions of Ms. Spaeth's

 declaration that had been stricken. The bankruptcy court also noted that it did not

 find Mr. Fife's declaration to be particularly helpful in any case because the

 Trustee had all of the numbers for damages. (Tr. of Proceedings (May 17, 2017),

 Appellee's ER, Tab 72, at 3676:19-3678:13.) As a result, the bankruptcy court did

 not allow Mr. Fife's testimony on damages.



                                      VIII. THE TRIAL

             After five days of testimony, the bankruptcy court held a post-trial hearing

 on May 17, 2017, during which it announced its rulings and findings. (Tr. of

 Proceedings (May 17, 2017), Appellee's ER, Tab 72). The bankruptcy court found



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 that there was no board approval for the Scapa Loan. (Id. at p. 3708:15-20; p.

 3709:3-7; p. 3718:9-11). The bankruptcy court also found that there was no legal

 basis for the $120,016.73 that was disbursed from the Scapa Loan proceeds to

 Morgan. (Id. at p. 3712:5-20). Although the bankruptcy court relied on testimony

 to conclude that there was no board approval for the Scapa Loan or the Morgan

 Deed of Trust, it inexplicably did not use this same testimony to make any findings

 regarding the lack of board approval for the Second Von Randallhoff Deed of

 Trust, the Third Von Randallhoff Deed of Trust, and the $100,000 paid to Shelton

 for an alleged retainer. Each of these obligations was ultimately satisfied and paid

 with the proceeds of the Scapa Loan, which the bankruptcy court found was never

 authorized by the Club's board. (File Ledger showing disbursements, Trial Exh.

 32, Appellee's ER, Tab 49; Scapa Loan Final Settlement Statement, Trial Exh. 31,

 Appellee's ER, Tab 50; Appellee's ER, Tab 72 at pp. 3708:15-20, 3709:3-7, and

 3718:9-11).

             Focusing solely on what Morgan received, the bankruptcy court awarded

 damages against Morgan of $160,903.48, consisting of (1) $6,400.00 that she

 retained without authorization after the Club's third bankruptcy filing, (2)

 $25,000.00 that Jae Kim refunded to her from the Third Von Randallhoff Loan,

 and $120,016.73 that she received directly from escrow from the proceeds of the

 Scapa Loan. (Judg. in Favor of Plaintiff Trustee and Against Def. Jennifer Morgan



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 on Plaintiff's First Am. Compl., Appellee's ER, Tab 1). Despite finding that

 Shelton had breached her fiduciary duty, the bankruptcy court found that there

 were no damages, so entered judgment in favor of Shelton. (Tr. of Proceedings

 (May 17, 2017), Appellee's ER, Tab 72, at 3718:9-3719:24).



                                     IX.    ARGUMENT

 A.          The Bankruptcy Court Did Not Err in Finding Morgan Liable for
             Breach of Fiduciary Duty

             1.    Morgan Breached Her Fiduciary Duties to the Club and Caused the
                   Club to Incur an Unauthorized Secured Hard Money Loan that She
                   Knew or Should Have Known that the Club Could Not Repay and that
                   Was for the Benefit of Herself and Other Insiders of the Club

             The Club is a California corporation. California law governs the issue of

 whether directors of a not-for-profit corporation incorporated in California

 breached their fiduciary duty. See In re Verisign, Inc., Deriv. Litig., 531 F.Supp.2d

 1173, 1215-15 (N.D. Cal. 2007); Cal. Corp. Code § 2116. In California, the

 elements of a claim for breach of fiduciary duty are the existence of a fiduciary

 relationship, a breach of that fiduciary duty, and damage proximately caused by the

 breach. See City of Atascadero v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 68

 Al. App. 445, 483 (1998). Officers and directors of a corporation are a fiduciary of

 the corporation and owe the corporation the duties of good faith and fair dealing

 and the duty of loyalty. See Frances T. v. Village Green Owners Ass'n, 42 Cal. 3d

 490, 513 (1986). Directors must act in a manner that they believe to be in the best

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 interest of a corporation. The duty of loyalty includes a duty to avoid conflicts of

 interest between the directors individually and the corporation. See Cal. Corp.

 Code § 5231(a) (providing that "[a] director shall perform the duties of a director

 . . . in good faith, in a manner that director believes to be in the best interests of the

 corporation and with such care, including reasonable inquiry, as an ordinarily

 prudent person in a like position would use under similar circumstances.").

 Directors also owe the corporation a duty of obedience, which requires that the

 director ensure "that a corporation keeps within its corporate powers and obeys the

 laws." Professional Hockey Corp. v. World Hockey Ass'n, 143 Cal. App. 3d 410,

 414 (1983).

                   (a)    As a Director and Officer of the Club, Morgan Owed Fiduciary
                          Duties to the Club

             It is undisputed that Morgan became an officer and director of the Club by

 no later than February 2010 and that she continued to act in these capacities

 through at least 2013.

                   (b)    Morgan Breached her Fiduciary Duties to the Club

             In California, directors and officers of a corporation owe the corporation a

 fiduciary duty, which includes the duties of obedience, diligence and loyalty. See

 Professional Hockey Corp. v. World Hockey Ass'n, 143 Cal. App. 3d 410, 414

 (1983). "In performance of their official duties directors are under obligations of

 trust and confidence to the corporation . . . . Directors must act in good faith for


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 the interests of the corporation … with due care and diligence and within the

 bounds of their authority." Id. Under California law, the duty of loyalty requires

 the directors/trustees not to act in their own self-interest when the interest of their

 corporation will be damaged thereby." Id.

             "The duty of obedience requires directors to act within the scope of the

 charter, bylaws, and other corporate governing documents and to obey all laws and

 regulations that apply to the corporation's business." Law of Corp. Officers & Dir.:

 Indemn. & Ins. § 1:36; see also In re Dalen, 259 B.R. 586, 610 (Bankr. W.D.

 Mich. 2001) ("Fiduciaries owe three basic duties to their constituents: the duty of

 care (i.e., the obligation not to act negligently), the duty of loyalty (i.e., the

 obligation not to act in the fiduciary's own interests), and the duty of obedience

 (i.e., the obligation not to act outside the fiduciary's permitted authority).");

 Professional Hockey Corp. v. World Hockey Assn., 143 Cal.App.3d 410, 414

 (1983) ("Furthermore, Delaware law adopts, as has California, the concept of the

 directors and/or trustees fiduciary duty, including the duties of obedience,

 diligence and loyalty. Directors owe such duty in the management of corporate

 affairs. In performance of their official duties, directors are under obligations of

 trust and confidence to the corporation and its stockholders. Directors must act in

 good faith for the interests of the corporation or its stockholders with due care and

 diligence and within the bounds of their authority. It is the duty of the director to



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 see that a corporation keeps within its corporate powers and obeys the laws.")

 (internal citations omitted).

             "[T]he business and affairs of the corporation shall be managed and all

 corporate powers shall be exercised by or under the direction of the board . . . ."

 Cal. Corp. Code § 300(a). "Thus, all matters involving the 'business and affairs' of

 the corporation are subject to ultimate direction by its board of directors. And,

 whenever corporate action is required, it means action by, or under the authority

 of, the board." Friedman, Fotenos and Rybka, Cal. Practice Guide: Corporations 6

 (The Rutter Group 2017) ¶ 6:173 (emphasis in original). Specific board action is

 required for any action not in the ordinary course of business, including corporate

 borrowing. Id. at ¶¶ 6:174, 6:471 and 6:484, citing Cal. Corp. Code § 207(g).

             Here, the bankruptcy court correctly concluded that there was no board

 authorization for the Morgan Deed of Trust. (Tr. of Proceedings (May 17, 2017),

 Appellee's ER, Tab 72,p. 3712). The bankruptcy court also correctly concluded

 that there was no board authorization for the Scapa Loan, an act that requires

 specific board action under California law. (Tr. of Proceedings (May 17, 2017),

 Appellee's ER, Tab 72, p. 3718:9-11). Moreover, there is no dispute that the Club

 could not afford the Scapa Loan. Both Morgan and Shelton were well aware of

 this. The Club's disclosure statement filed in March 2011 and signed by Morgan as

 treasurer admitted that the Club's monthly revenue was only $9,000 a month.



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 (Disclosure Statement (Mar. 28, 2011) at 2900, Appellee's ER, Tab 53). The

 monthly payment for just the Scapa Loan was $7,000, which was almost the

 entirety of the Club's monthly gross income. The profit and loss statements

 attached to that disclosure statement reflect that the Club's net income for the

 calendar year 2010 was negative $21,099.63 and that for the first two months of

 2011 was negative $30,042.74. (Id. at 2935, 2937). The Club could not afford to

 make the monthly payments out of the Club's operating income and the few

 payments that were made were paid by the proceeds of the Scapa Loan. Indeed,

 Morgan and Shelton intentionally borrowed more money from Scapa in order to

 use the loan proceeds to make the first year's loan payments. (Tr. of Proceedings

 (Mar. 8, 2017), Appellee's ER, Tab 52, p. 2799:25-2800:4; Trial Decl. of Jennifer

 Morgan, Appellee's ER, Tab 14, p. 656:1-3). Once the proceeds of the Scapa Loan

 were exhausted, the Club was left unable to make the monthly loan payments and

 was forced to file the instant Bankruptcy Case in order to stay the foreclosure sale.

 (See Decl. of Jennifer Morgan filed 01/02/13, Trial Exh. 169, Appellee's ER, Tab

 73, pp. 3729-30).

             Morgan knew that the Scapa Loan would need to immediately be replaced

 with a less expensive loan if the Club was to avoid filing for bankruptcy. (Trial

 Decl. of Jennifer Morgan at pp. 655-656, ¶ 93, Appellee's ER, Tab 14; Tr. of

 Proceedings (Mar. 8, 2017) at 2799:24-2800:2, Appellee's ER, Tab 52; Trial Decl.



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 of Michael Wallace at p. 2220, ¶ 24, Appellee's ER, Tab 46). However, there was

 no reason to believe that this was realistic. According to Morgan, the Club was

 repeatedly turned down for a more conventional (and hence, less expensive) loan

 before it obtained the Scapa Loan. Morgan repeatedly declared under oath that as

 soon as she disclosed the existence of the Quick Action to regular commercial

 lenders, they declined to lend to the Club. (Decl. of Jennifer Morgan at pp. 3727-

 3728, ¶ 10, Appellee's ER at 73; Tr. of Proceedings (Mar. 8, 2017) at 2756:19-

 2757:4, Appellee's ER at 52).

             Given the weight of this evidence and the testimony of both Morgan and

 Shelton, the bankruptcy court's finding that Morgan breached her fiduciary duty

 was supported by the evidence and should be affirmed.

             2.    The Bankruptcy Court Did Not Err in Finding That There Was No
                   Contractual Basis for Morgan to Receive a Portion of the Scapa Loan
                   Proceeds

             On appeal, Morgan contends that the bankruptcy court erred in finding that

 she did not have a valid employment contract, pointing to cherry-picked

 allegations in the Trustee's First Amended Complaint and to exhibits to the

 complaint as alleged evidence of a judicial admission by the Trustee that there was

 a valid employment contract. Specifically, Morgan points to an allegation in the

 First Amended Complaint in which the Trustee alleged on information and belief

 that "in or about July 21. 2010, the Board agreed with Morgan to compensate



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 Morgan for serving as the Debtor's Executive Director. The Board agreed to pay

 Morgan $300 per week for expenses and to accrue Morgan's 'salary at $8.000 a

 month starting August 1, 2010, payable only if money exists' because the Debtor

 could not afford to pay Morgan at that time." First Amended Complaint at ¶ 38,

 Appellant's App. at Tab 1. However, later in the complaint, the Trustee alleged

 that at the December 2010 board meeting, they "agreed that Morgan would work

 pro bono and would seek compensation once the organization makes a profit."

 First Amended Complaint at ¶ 44, Appellant's App. at Tab 1. The First Amended

 Complaint went on to allege that the Trustee was informed that when Morgan

 received the Morgan Deed of Trust, "if she was owed anything, Morgan was owed

 no more than $41,590 in expenses and compensation at that time, and that the

 obligation for Morgan was unsecured." Id. at ¶ 64. In its findings on the record,

 the bankruptcy court concluded as follows:

                         . . .the one thing that the testimony is clear, that –
                  for me anyway, that there was not a board approval of the
                  contract. The one thing that people were adamant about
                  is the board simply could not afford – or at that time,
                  there was testimony that at the – at some point, if the club
                  was actually able to pay. When I – to me, that means not
                  able because you borrow the money, that's able to pay
                  financially, that the money is coming in.
                         And I do—and so, as far as I am concerned, I –
                  there is – I am not satisfied at all that there was ever a
                  binding contract to – for the payment of the – of this.
                  And, therefore, the money that came out of the
                  120,216.73 was not properly disbursed.
             Tr. of Proceedings (May 17, 2017) at 3712:5-18, Appellee's ER at 72. To

 the extent that the First Amended Complaint was inconsistent with the evidence

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 presented at trial and the Trustee's arguments in connection with trial, the

 bankruptcy court held that it would permit an amendment to the complaint. See Tr.

 of Proceedings (May 17, 2017) at 3692:4-3693:2, Appellee's ER at 72. The

 bankruptcy court committed no error on this issue.

             First, the Trustee did not admit that Morgan had a valid employment

 contract such that the payment to her of alleged accrued salary was also valid. The

 allegations in the First Amended Complaint must be read together. When they are

 read as a whole, it is apparent that the allegation is that Morgan was not entitled to

 use any portion of the Scapa Loan proceeds to pay herself because to the extent

 that any alleged contract had been approved, it was contingent upon the Club

 operating profitably such that it could afford to make the payments. The Trustee

 has never argued that the Club operated profitably so that it should have paid

 compensation to Morgan.

             Second, to be treated as a judicial admission, a statement must: (1) be made

 in a judicial proceeding; (2) be deliberate, clear, and unequivocal; concern a fact on

 which a judgment for the opposing party may be based; (4) conflict with a fact

 essential to the theory of recovery; and (5) be such that giving it conclusive effect

 meets with public policy. See Heritage Bank v. Redcom Labs., Inc., 250 F.3d 319,

 329 (5th Cir. 2001). Here, the allegation Morgan relies on in isolation was not

 made based on personal knowledge, but was instead made on information and



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 belief. In addition, it does not concern a fact on which a judgment for Morgan can

 be based, because the allegation itself provides that the compensation could only

 be paid once funds became available and, in the context of other allegations in the

 First Amended Complaint, that meant that the Club had to operate profitably. Last,

 to the extent that the evidence at trial proved that there had not, in fact, been proper

 board approval for any employment contract, the Trustee, who pled on information

 and belief, was laboring under a mistake when the allegation was contained in the

 First Amended Complaint and, to the extent necessary, may be relieved of any

 admission. See New Amsterdam Cas. Co. v. Waller, 323 F.3d 20, 24 (4th Cir.

 1963).

             Further, even if there was a valid employment contract that required

 Morgan's payment, it does not change the analysis of whether obtaining the Scapa

 Loan was a breach of fiduciary duty. The Scapa Loan was never authorized by the

 Club's board and the amount of the Scapa Loan far exceeded any amount Morgan

 was allegedly owed for compensation and contained terms that were unfavorable to

 the Club and repayment terms that the Club clearly could not afford.

 B.          The Bankruptcy Court Erred in Calculating the Amount of Damages
             for Morgan's Breach of Fiduciary Duty

             1.    The Bankruptcy Court Erroneously Focused Its Analysis on the
                   Amount Morgan Received as a Result of Her Fiduciary Duty and Not
                   on the Amount of Damage Her Breach Caused the Club

             "'Damages' are monetary compensation awarded to parties who suffer


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 detriment for the unlawful act or omission of another; they are assessed by a court

 against wrongdoers for the commission of a legal wrong of a private nature. . . .

 The focus of an award of damages is the quantification of detriment suffered by a

 party." Meister v. Mensinger, 230 Cal. App. 4th 381, 396 (2014)(citations omitted).

 "'Where the fact of damages is certain, the amount of damages need not be

 calculated with absolute certainty. The law requires only that some reasonable

 computation of damages be used, and the damages may be computed even if the

 result reached is an approximation.'" Id. (quoting GHK Assocs. v. Mayer Group,

 Inc., 224 Cal. App. 3d 856, 873-74 (1990))(alteration in original).

             Here, there is no question that by causing the Club to give herself the

 Morgan Deed of Trust and to obtain the unauthorized Scapa Loan, Morgan caused

 harm to the Club. The undisputed evidence is that the Club could not afford to pay

 Morgan (Tr. of Proceedings (Day 5, Shelton testimony) at 134:14-15, Appellee's

 ER at Tab 30; Trial Decl. of Lorraine Genovese at 4:5-6, Appellee's ER at Tab 16)

 or the Scapa Loan. (FY 2008-09 Tax Return, Trial Exh. 269, Appellee's ER, Tab

 10; FY 2009-10 Tax Return, Trial Exh. 270, Appellee's ER, Tab 11; FY 2010-11

 Tax Return, Trial Exh. 318, Appellee's ER, Tab 54; Club's Income Statements for

 the months of March and April 2012, Trial Exh. 176, Appellee's ER, Tab 55, pp.

 2965-68; Statement of Financial Affairs, Trial Exh. 219, Appellee's ER, Tab 56).

 In fact, extra money was borrowed from Scapa so that the Scapa Loan could be



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 serviced with the loan proceeds. (Tr. of Proceedings (Mar. 8, 2017), Appellee's

 ER, Tab 52, pp. 2799:25-2800:4; Appellee's ER, Tab 14, Tr. of Proceedings (Feb.

 17, 2017), Appellee's ER, Tab 76 at 4085:3-10; Tr. of Proceedings (Mar. 8, 2017),

 Appellee's ER, Tab 52, p. 2580:10-2581:4, 2627:19-2628:16.) Once the Scapa

 Loan proceeds were exhausted, the Club was left unable to make the monthly loan

 payments and was forced to file the Bankruptcy Case to stop Scapa's foreclosure

 sale and protect the Property. (See Decl. of Jennifer Morgan filed 01/02/13, Trial

 Exh. 169, Appellee's ER, Tab 73, pp. 3729-30.)

             The bankruptcy court eventually approved a chapter 11 plan that allowed the

 Club to exit the bankruptcy and maintain its ownership of the Property. (Plan of

 Reorganization, Appellee's ER, Tab 4; Order Confirming Plan, Appellee's ER, Tab

 3.) However, the Club's ability to retain the Property came at a price - the

 bankruptcy court's approved plan requires the Club to repay $1,616,886.96 to

 Scapa. (Plan of Reorganization, Appellee's ER, Tab 4, p. 151.) The Trustee

 asserts that this is the amount of damages suffered by the Club as a result of

 Morgan's actions in breaching her fiduciary duties, granting herself an

 unauthorized deed of trust and obtaining the unauthorized Scapa Loan. Therefore,

 it is this amount that should have been awarded by the bankruptcy court.

             In determining the amount of damages in its judgment against Morgan, the

 bankruptcy court simply added up the actual amounts received by Morgan rather



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 than the amount of harm suffered by the Club as a result of the unauthorized and

 excessive Scapa Loan. (Appellee's ER, Tab 1.) It made a similar error when it

 declined to award damages against Shelton for money received by other people.

             These errors resulted from the bankruptcy court's incorrect application of the

 law on damages and should be reversed. The focus of an award of damages is the

 quantification of detriment suffered by a party. See Meister, 230 Cal. App. at 396.

 Here, the Scapa Loan was unauthorized and unaffordable, which led to a

 predictable default and a scheduled foreclosure sale. The Club, led by Morgan and

 Shelton, as board members and officers, filed the Bankruptcy Case to stop the

 foreclosure sale. However, the automatic stay is not indefinite and to save its

 valuable Property from an eventual foreclosure sale by Scapa, the Club is required,

 pursuant to the bankruptcy court's confirmed plan, to repay Scapa in excess of $1.6

 million. This amount is the direct and proximate harm suffered by the Club as a

 result of Morgan's breach. The amount that Morgan received from the proceeds of

 the Scapa Loan is irrelevant to a proper calculation of damages. Morgan contends

 in her brief that the Judgment should be reduced because she returned $20,000 of

 the $120,016.73 she received from the Scapa Loan proceeds. Because the

 calculation of damages for Morgan's breach is the harm that the Club suffered, and

 not the amount she actually received, this issue is of no import.

             Although the bankruptcy court correctly concluded that Morgan breached



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 her fiduciary duty, it erred in its calculation of damages and that portion of the

 judgment should be reversed and remanded with instructions to enter a judgment in

 the amount of no less than $1,616,886.96.

             2.    The Bankruptcy Court Abused Its Discretion in Striking the Trial
                   Declaration of Trustee's Expert Witness Don T. Fife, CPA and
                   Excluding the Trial Testimony of Don T. Fife, CPA

             In this case, in light of the bankruptcy court's erroneous application of

 damages, Mr. Fife's testimony on damages could have aided the bankruptcy court

 in reaching the correct outcome. The bankruptcy court's ruling in striking the

 entirety of Mr. Fife's testimony was an abuse of discretion.

             Federal Rule of Civil Procedure 26(a)(2)(B) requires that an expert report

 contain, among other things, "(i) a complete statement of all opinions the witness

 will express and the basis and reasons for them; (ii) the facts or data considered by

 the witness in forming them; [and] (iii) any exhibits that will be used to summarize

 or support them." The rule is not clear that the exhibits must be physically

 attached to the report as opposed to specifically identified. Moreover, the point of

 Rule 26 is disclosure. The legislative history to this rule indicates that the expert

 report is to "disclose" the exhibits that support the expert's opinions. See Fed. R.

 Civ. P. 26, Adv. Comm. Notes ("The report is to disclose the data and other

 information considered by the expert and any exhibits or charts that summarize or

 support the expert's opinions."). In Zone Sports Ctr., LLC v. Nat'l Sur. Corp., 2012



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 WL 1969048 (E.D. Cal. May 31, 2012), the defendant argued that the plaintiffs

 failed to provide all of the documents relied upon by their expert at the time of the

 expert's disclosure. Id. at *4. The plaintiffs responded that all of the documents

 referenced by their expert were produced either "in their initial disclosures,

 concurrently with the expert report, or subsequently thereto . . . ." Id. The court

 found that the plaintiffs met their obligation under Rule 26(a)(2)(B) because

 between plaintiffs' initial disclosures, the exhibits attached to the expert report, and

 the documents the defendants obtained from a third party, the defendant "was in

 possession of all the documents" referenced in the expert's report.

             Where there is a failure to comply with the requirements of Rule 26, courts

 generally require egregious conduct before striking testimony. For example, in

 Yeti by Molly Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101 (9th Cir. 2001), the

 defendants timely identified a damages expert but then failed to provide his expert

 report for more than two years, and only 28 days before trial. The plaintiff was

 unable to depose the expert or to prepare to question him at trial. Id. at 1106-07.

 Therefore, the Ninth Circuit affirmed the district court's decision to exclude his

 testimony. Similarly, in United States v. Chapman Univ., 245 F.R.D. 652 (C.D.

 Cal. 2007), on the deadline for initial disclosures of experts, the plaintiff sent the

 defendants its expert's resume and a two-page letter from the expert setting forth

 ten issues about which he had been retained to testify. The letter contained no



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 opinions and it was evident that he had, in fact, not yet formed any opinions. Id. at

 652. Three weeks later, the expert provided his report. The court found that the

 insufficient disclosure was not negligent but was instead part of the party's trial

 strategy. Id. at 654. The court found that this was not harmless, because it

 substantially prejudiced the defendant's trial preparation because it did not have

 time to analyze the expert report or to find a rebuttal witness before the deadline

 for disclosure of rebuttal experts and in time to timely prepare a motion in limine.

 Id.

             Here, the first error in connection with the bankruptcy court's granting of the

 motion in limine to exclude Mr. Fife's testimony was in striking all of the portions

 of Ms. Spaeth's declaration to which there was an objection. In her declaration,

 Ms. Spaeth testified that she represented the Trustee and then went through a

 number of the documents identified in Mr. Fife's report in the section on "Sources

 Considered in Rendering of Opinions." The defendants objected to most of this

 testimony on the basis that it was irrelevant, lacked foundation, or for substantive,

 non-evidentiary reasons (i.e., they were not required to hunt public records to find

 documents). Without explanation, the bankruptcy court stated that it was

 sustaining all of the objections. This was erroneous. The testimony was not

 irrelevant since the point of Federal Rule of Civil Procedure is to provide a party

 who has been prejudiced with a remedy. The point here is that the defendants were



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 in no way prejudiced by the fact that some of the documents on which Mr. Fife

 relied were not physically attached to the report.

             The bankruptcy court's second error was in finding that the motion for

 reconsideration was simply improper. Where a court commits clear error or the

 original decision was manifestly unjust, a motion for reconsideration may be

 utilized. See School Dist. No. 1J, Multnomah County, Oregon v. ACandS, Inc., 5

 F.3d 1255, 1263 (9th Cir. 1993). Precluding the testimony of an expert in its

 entirety is a drastic remedy that is appropriately applied where "the party's conduct

 represents flagrant bad faith and callous disregard of the federal rules." McNerney

 v. Archer Daniels Midland Co., 164 F.R.D. 584, 586 (W.D.N.Y. 1995). There

 was no flagrant bad faith disregard of the rules in this case and, for the reasons set

 forth below, the bankruptcy court's decision was manifestly unjust to the Trustee

 because it resulted in the striking of a significant portion of the Trustee's evidence

 on damages.

             The bankruptcy court's third error was in finding that the documents on

 which Mr. Fife relied were required to be physically affixed to the report and that

 because they were not, the Trustee and Mr. Fife had failed to comply with Rule 26

 and the appropriate remedy was the striking of all of Mr. Fife's testimony. The

 point of Rule 26 is to ensure there is proper disclosure. The physical attachment of

 the documents is not necessary to ensuring that the disclosure objective of Rule 26



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 is met. See Zone Sports Ctr., LLC v. Nat'l Sur. Corp., 2012 WL 1969048 (E.D.

 Cal. May 31, 2012).

             However, even if one were to interpret Rule 26 to mean that the exhibits on

 which Mr. Fife relied were required to be physically attached to the expert report

 instead of disclosed in it, this mistake was substantially justified and, therefore, the

 Court's ruling was erroneous. Federal Rule of Civil Procedure 37 provides that

 "[i]f a party fails to provide information . . . as required by Rule 26(a), the party is

 not allowed to use that information or witness to supply evidence on a motion, at a

 hearing, or at a trial, unless the failure was substantially justified or harmless."

 Fed. R. Civ. P. 37(c)(1). In determining whether an error was substantially

 justified, courts have considered the following factors: "(1) the importance of the

 excluded testimony; (2) the explanation of the party for its failure to comply with

 the required disclosure; (3) the potential prejudice that would arise from allowing

 the testimony; and (4) the availability of a continuance to cure the prejudice."

 Sullivan v. Glock, Inc., 175 F.R.D. 497, 506-07 (Fed. Cir. 1997). Here, in light of

 the bankruptcy court's erroneous conclusion regarding damages, Mr. Fife's

 testimony clearly would have been important to a proper calculation of damages.

 Second, any error was caused by interpreting Rule 26's requirement that exhibits be

 contained in the report as permitting that documents on which the expert relied be

 plainly disclosed but not necessarily physically affixed to the report. Third, and as



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 set forth below, there is no prejudice to the defendants because they were plainly

 informed which documents were relied upon and had those documents in their

 possession. The defendants did not at any point deny that they had the documents,

 only that they should not be required to go locate them. There simply was no

 prejudice here and, as a result, the bankruptcy court abused its discretion in striking

 all of Mr. Fife's testimony.

             Alternatively, even if the bankruptcy court were correct that the expert

 report failed to comply with the requirements of Rule 26 and that the error was not

 substantially justified, it erred in striking the entirety of Mr. Fife's testimony

 instead of just those portions that relied upon the documents that were not

 physically attached. As set forth above, a majority of the documents on which Mr.

 Fife relied were attached to the report, either in whole or in part. The testimony

 that relied upon those exhibits should not have been stricken because there was no

 prejudice at all to the Defendants as to those portions of the report and his

 declaration. The striking of testimony is a drastic remedy reserved for egregious

 conduct, and there was no egregious conduct in this case.

             The bankruptcy court abused its discretion in granting defendants' motion in

 limine and striking the entirety of Mr. Fife's testimony.




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             3.    Although the Bankruptcy Court Erred in Calculating Damages, It
                   Properly Included the Amounts Morgan Received, Including the
                   $6,400 Payment

                   The bankruptcy court correctly concluded that Morgan improperly

 converted the sum of $6,400 representing post-petition rents belonging to the

 bankruptcy estate. (Tr. of Proceedings (May 17, 2017), Appellee's ER, Tab 72, at

 p. 3711:11-14.) The testimony offered by Morgan was simply not credible. The

 bankruptcy court noted that there were "so many inconsistencies in the testimony"

 and the "testimony there changed dramatically." (Id. at p. 3711, ll. 6-8 and ll. 10-

 11.)

             Morgan's trial testimony as well as her assertions in this appeal are

 contradicted by multiple prior sworn statements.

             At the meeting of creditors on January 28, 2013, held in the underlying

 bankruptcy case, Morgan was questioned by the Trustee and testified under oath

 that in December of 2012, she diverted the Club's mail to her home address, as

 follows:

                   Q:    Since that time I found out that you also forwarded the
             mail and a $6400 check came to the Hollywood Woman's Club, got
             forwarded to I guess your personal residence, is that correct?
                   A:    I had the mail on the 14th of December transferred to my
             home, which is 2408 Detour Drive (phonetic). (Exhibit "197," at p.
             3030:10-15, Appellee's ER, Tab 60.)

             When the Trustee questioned Morgan about the whereabouts of the $6400

 rent check from Mosaic, L.A., Morgan testified that she deposited the check into a


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 newly opened debtor-in-possession account (Id. at p. 3030:16-25, 3031:1-10.) but

 then withdrew the funds immediately after depositing the check and spent it as

 follows:

                   Q:      Where is the $6400?
                   A:      I've spent that.
                   Q:      Did you have a checking account? Were you issuing
             checks on the Hollywood Woman's Club?
                   A:      No. I cashed out the money –
                   Q:      So you –
                   A:      – because –
                   Q:      – you were able to cash a check?
                   A:      I cashed out the check. I closed the account and took the
             cash.
                   (Id. at p. 3033:10-19.)

             Morgan further testified that she used the cash taken from the DIP account to

 pay personal expenses and court costs. (Id. at p. 3034:10-3037:23.) When the

 Trustee asked Morgan to return the money to the estate, she refused, saying she did

 not have it. (Id. at p. 3037:24-3038:2.)

             In September 2013, Morgan again testified under penalty of perjury that she

 withdrew the $6400 from the DIP account and spent it, including taking a portion

 of the money as part of her "monthly independent-contractor fees." (Morgan's

 declaration in support of the Reply of Debtor, The Woman's Club of Hollywood,

 California, to Trustee's and Others' Opposition to Motion to Vacate Trusteeship

 and Restore Debtor to DIP Status, filed September 4, 2013, as Docket No. 214, is

 attached as Exhibit "175" to the Amended Request for Judicial Notice, Docket No.


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 440, Appellee's ER, Tab 74 at pp. 3888-89.)

             The rent payment of $6400 was property of the Club's bankruptcy estate

 pursuant to Bankruptcy Code section 541, which provides that "the commencement

 of a case under section 301, 302, 303 of this title creates an estate. Such estate is

 comprised of all the following property, wherever located and by whomever held:

 … all legal or equitable interests of the debtor in property as of the commencement

 of the case." 11 U.S.C. § 541. Pursuant to Bankruptcy Code section 549, the

 Trustee may avoid the transfer of property of the estate that occurs after the

 commencement of the case and is not authorized under by the Bankruptcy Code or

 by the court.

             There is no dispute that the transfer of the rent payment to Morgan was not

 authorized by the bankruptcy court or by the Bankruptcy Code. Whether the

 Club's board authorized or approved the transfer is of no relevance to a

 determination under section 549. The bankruptcy court was well within its

 discretion to find that Morgan's trial testimony on this issue was not credible and to

 conclude that the Trustee should recover the $6400 post-petition rent payment

 from Morgan.

             4.    The Bankruptcy Court Erred in Applying the Federal Interest Rate in
                   Calculating the Prejudgment Interest

             The bankruptcy court determined that prejudgment interest was appropriate

 and applied a simple interest per annum of 1.098%. (Appellee's ER, Tab 1.)

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 However, where the underlying claims for relief are based on state law, state law

 should be used to determine prejudgment interest.

             Federal courts addressing the choice of law question often look to the source

 of a plaintiff's claim when determining the governing law of prejudgment interest:

 if federal law gives rise to the claim, federal law governs the rule of prejudgment

 interest to be applied. Similarly, if state law is the source of the claim then state

 law supplies the applicable rule of prejudgment interest. See In re Keefe, 401 B.R.

 520, 527 (1st Cir. B.A.P. 2009); Pereira v. Goldberger (In re Stephen Douglas,

 Ltd.), 174 B.R. 16, 22 (Bankr. E.D.N.Y. 1994) (where the judgments are

 predicated on New York substantive law ... prejudgment interest will be allowed ...

 at the New York [interest] rate").

             In California, interest of 7% per annum is awarded on tort and other non-

 contractual claims. See Cal. Const., art. 15, sec. 1, and Children's Hospital and

 Medical Center v. Bonta, 118 Cal. Rptr. 2d 629, 775 (Cal. Ct. App. 2002) (interest

 rate is 7 percent per annum as specified in Cal. Const., art 15, sec. 1, rather than 10

 percent, where the action is not based on contract).

             Here, the liability is based upon breach of fiduciary duty, a tort claim, to a

 California corporation. As such, the bankruptcy court should have applied

 California's rate of prejudgment interest of 7% and not the federal rate of interest.

 The bankruptcy court erred as a matter of law in applying the incorrect rate of



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 interest.



                                    X.     CONCLUSION

             As a board member, executive director, CEO and treasurer, Morgan was a

 fiduciary to the Club. She breached her fiduciary duties to the Club in granting

 herself a deed of trust when it was never authorized by the Club's board and

 obtaining a high-interest $700,000 secured loan that was never authorized by the

 Club's board, for her benefit and for the benefit of Shelton, a fellow board member

 and officer. With respect to these first two elements of a breach of fiduciary duty

 cause of action, the bankruptcy court correctly concluded that these elements were

 met.

             The bankruptcy court erred, however, when it failed to apply the correct

 damages standard and evaluated damages from the perspective of how much

 Morgan received, rather than the harm suffered by the Club. As a result of

 Morgan's breaches, the Club was saddled with an unauthorized secured hard

 money loan that it could not repay and which necessitated the filing of the

 underlying bankruptcy case in order to stay the lender's foreclosure sale. Pursuant

 to the bankruptcy court's confirmed chapter 11 plan, the Club is required to repay

 in excess of $1.6 million to Scapa, the lender, in order to save its Property and pay

 off the unauthorized loan.



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             The bankruptcy court should have entered judgment against Morgan in the

 amount of $1,616,886.96, plus the additional amounts she received not attributable

 to the Scapa Loan. It erred in its failure to do so and the judgment should be

 reversed with instructions to the bankruptcy court to enter a judgment for at least

 $1,616,886.96, plus the additional amounts Morgan received not attributable to the

 Scapa Loan. In addition, the bankruptcy court should be instructed to apply the

 California rate of prejudgment interest.

             RESPECTFULLY SUBMITTED this 13th day of October, 2017.



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                             CERTIFICATE OF COMPLIANCE
                      (Federal Rule of Bankruptcy Procedure 8015(a)(7))


             I, Lei Lei Wang Ekvall, certify that:

             Pursuant to Federal Rule of Bankruptcy Procedure 8015(a)(7), the foregoing

 brief, including the tables, contains 13,593 words, according to the word count

 performed by Microsoft Word, and therefore, it meets the requirements of Rule

 8016(d)(2)(B)(i).

             RESPECTFULLY SUBMITTED this 13th day of October, 2017.



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                              PROOF OF SERVICE
 STATE OF CALIFORNIA, COUNTY OF ORANGE
        At the time of service, I was over 18 years of age and not a party to this
 action. I am employed in the County of Orange, State of California. My business
 address is 3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626.

       On October 13, 2017, I served true copies of the following document(s)
 described as OPENING BRIEF OF APPELLEE AND CROSS-APPELLANT
 on the interested parties in this action as follows:

        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically
 filed the document(s) with the Clerk of the Court by using the CM/ECF system.
 Participants in the case who are registered CM/ECF users will be served by the
 CM/ECF system. Participants in the case who are not registered CM/ECF users
 will be served by mail or by other means permitted by the court rules.



       I declare under penalty of perjury under the laws of the United States of
 America that the foregoing is true and correct and that I am employed in the office
 of a member of the bar of this Court at whose direction the service was made.

       Executed on October 13, 2017, at Costa Mesa, California.


                                                /s/ Heather Davis
                                           Heather Davis
